                                              3:19-cr-30067-SEM-TSH # 172      Page 1 of 17
                                                                                                                  E-FILED
                                                                                  Wednesday, 04 August, 2021 02:54:43 PM
                                                                                             Clerk, U.S. District Court, ILCD
                                             IN THE UNITED STATES DISTRICT COURT
                                                 CENTRAL DISTRICT OF ILLINOIS
                                                     SPRINGFIELD DIVISION

                            UNITED STATES OF AMERICA,

                                Plaintiff,

                                      v.                                    No.: 19-CR-30067

                            TODD SHEFFLER,
                            WILLIE HEDDEN, and
                            ALEX BANTA

                                Defendant.


                              DEFENDANT BANTA’S MOTION IN LIMINE NO. 2-2

                                Defendant ALEX BANTA, by his attorneys, moves this

                        Court pursuant to Federal Rule of Criminal Procedure 16(d),

                        Federal Rules of Evidence 104, and the inherent authority of

                        this Court to manage the trial in this case, 1 for entry of an


                        1“Although the Federal Rules of Evidence do not explicitly authorize
                        in limine rulings, the practice has developed pursuant to the district
                        court's inherent authority to manage the course of trials.” Luce v.
                        U.S., 469 U.S. 38, 41 n.4 (1984). “Motions in limine are common, and
                        frequently granted, in criminal as in civil trials.” U.S. v. Warner, 506
                        F.3d 517, 523 (7th Cir. 2007). Such motions permit the district court
                        to eliminate evidence “that clearly ought not be presented to the jury,”
                        because it is “inadmissible for any purpose,” Jonasson v. Lutheran
                        Child and Family Services, 115 F.3d 436, 440 (7th Cir. 1997) accord
                        U.S. v. Tokash, 282 F.3d 962, 968 (7th Cir. 2002).
FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                                 Page 1 of 17
                                      3:19-cr-30067-SEM-TSH # 172   Page 2 of 17




                        order barring the Government from using or placing into

                        evidence a hospital photograph that the Government

                        disclosed to Defendants on August 3, 2021.

                            This photograph is part of the Hospital Photographs

                        that have previously been filed with the Court under seal.

                        See the Court’s order of June 17, 2001 granting leave to file

                        certain photos under seal. The photos are on a disc that

                        Defendant Banta delivered to the Court and are in the

                        Clerk’s Office Vault.   This photograph can be found at pdf

                        page 5 of the Hospital Records on that disc. As evidenced

                        from the first page of the hospital records, this photo was

                        taken on May 18, 2018.

                            Defendant Banta originally raised an issue with the

                        autopsy and hospital photographs in Defendant Banta’s

                        Motion In Limine No. 2, paragraph 4.N. (d/e 80) The Court,

                        in its July 1, 2021 ruling on that motion (d/e #133), at pages

                        14-15, stated:

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                         Page 2 of 17
                                       3:19-cr-30067-SEM-TSH # 172   Page 3 of 17




                              Counsel for the Government is consulting with its
                              expert witnesses regarding which photos are
                              necessary to explain their testimony. Government
                              counsel will advise Defense counsel which photos will
                              be used.     The Defendants can then make any
                              objections to the photographs.

                        The    Government      previously        twenty-six     (26)   autopsy

                        photographs [See Defendant Banta’s Motion In Limine No. 2-

                        1], but has now disclosed one (1) hospital photograph that it

                        intends to introduce at trial.

                              By this Motion In Limine No. 2-2, Defendant Banta now

                        makes his objections to the one (1) hospital photograph and

                        in support of this Motion, Defendant Banta states as follows:

                              1.   Defendant Banta stands indicted on charges (d/e

                    #1), all arising from an alleged excess force incident on May

                    17, 2018 at a state correctional center where an inmate is

                    alleged to have died from injuries sustained in that incident.

                    As indicated in the Indictment, it is the contention of the

                    Government that the use of force by Defendant Banta and by


FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                          Page 3 of 17
                                        3:19-cr-30067-SEM-TSH # 172   Page 4 of 17




                    the other two co-defendants against the inmate, caused

                    bodily injury to the inmate and the inmate’s death.

                            2.      Defendant Banta has pled not guilty to the charges

                    and is presumed innocent of the charges.

                            3.      As recited in the Court’s July 1, 2021 Opinion on

                        Defendant Banta’s Motion In Limine No. 2, it is the

                        Government’s position is as follows: (a) the Government is

                        required to prove the inmate was injured and died as a result

                        of the Defendant Banta’s actions; (b) whether Defendant

                        Banta’s conduct resulted in the inmate’s death is disputed;

                        (c) the Government’s experts, Dr. Norfleet and Dr. Collier are

                        expected to testify regarding the inmate’s injuries and cause

                        of death and will need to refer to the autopsy photographs to

                        explain their testimony to the jurors; and (d) the injuries

                        suffered by the inmate are highly probative of whether the

                        force used was for harming the inmate or to maintain

                        security.       Thus,    the    Government         claims    that   the

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                           Page 4 of 17
                                       3:19-cr-30067-SEM-TSH # 172   Page 5 of 17




                        photographs     are    highly     probative      and        not   unfairly

                        prejudicial.

                            4.   As indicated in the Government’s Response (d/e

                        #111) to Defendant Banta’s Motion In Limine No. 2, the

                        Government contends that the hospital photographs are

                        highly probative if they confirm the prosecution’s theory

                        about the manner in which the alleged crime was committed

                        and issues that are in dispute. The Government indicated

                        that it would only introduce a hospital photograph that

                        helped explain the testimony of its experts and that relate to

                        the defendants’ alleged use of force.

                            5.   For the following reasons, the Court should bar the

                        Government from using or introducing at evidence the one

                        (1) hospital photograph the Government now contends it

                        intends to use at trial:

                            A.    There is no dispute that the inmate was treated at

                    St. John’s Hospital from May 17, 2018 through June 15 2018

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                          Page 5 of 17
                                   3:19-cr-30067-SEM-TSH # 172   Page 6 of 17




                    and that he was transported to St. John’s Hospital on May

                    17, 2018 from Culbertson Hospital and following an incident

                    involving the inmate that took place earlier in the day on May

                    17, 2018 at Western Illinois Correctional Center.

                         B.   There is no dispute that the inmate was injured on

                    May 17, 2018. The medical records the Government intends

                    to introduce, the photographs of the inmate while at the

                    facility, and the testimony of the treating doctors and prison

                    facility nurse will detail the nature of the injuries the inmate

                    was determined to have received. But there is a dispute as

                    to whether Defendant Banta injured or caused the death of

                    the inmate.    Nothing in the photograph proves anything

                    about who caused the injuries to or death of the inmate.

                    Nothing in the photograph proves anything about where in

                    the prison facility the injuries to the inmate occurred.

                    Nothing in the photograph proves anything about what kind

                    of trauma (for example a fall or a kick) caused the observed

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                      Page 6 of 17
                                  3:19-cr-30067-SEM-TSH # 172   Page 7 of 17




                    injuries. The hospital photograph evidences nothing about

                    causation nor does the photograph evidence anything about

                    what force if any caused trauma to the inmate. Nothing in

                    the photograph proves anything about the degree or force of

                    the trauma that caused the observed injuries. The hospital

                    photograph is unnecessary for the Government and it is self-

                    evident from looking at the photograph that it is unduly

                    prejudicial as it will clearly evoke strong emotion and

                    sympathy from the jury.

                         C.   As stated in Motion In Limine No. 2, Defendant

                    Banta is not taking issue with the condition of inmate Earvin

                    while he was in the various hospitals (Culbertson, St. John’s

                    and St. Mary’s) and at Centralia Correctional Center. We

                    know from the testimony of Dr. Collier at the Daubert

                    hearing that the inmate had a tracheostomy.                There is no

                    reason Dr. Collier use medical graphics, if need be, to aid the

                    jury in understanding his testimony, without the need to

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                     Page 7 of 17
                                  3:19-cr-30067-SEM-TSH # 172   Page 8 of 17




                    show the jury a picture of the inmate in the hospital with this

                    apparatus attached to his neck. Further, the Government

                    has indicated that it intends to introduce into evidence the

                    St. John’s Hospital records (see Government Group Exhibit

                    7). These hospital records contain references to the tracheal

                    apparatus and the other treatments received by the inmate.

                    In any event, this apparatus and all of the tubing and other

                    apparatus in the hospital photograph is not evidence of any

                    injury to the inmate or cause of death, but rather evidences

                    only a treatment procedure. As for the other doctors that the

                    Government intends to call, Drs. Whitehead, Santos,

                    Rosario, and Phoenix, none of them were treating the inmate

                    at St. John’s Hospital in May 2018.

                         D.    The Government has disclosed that it intends to

                    use as evidence certain photographs taken of inmate Earvin

                    in the WICC segregation unit while he was alive and depicting

                    inmate Earvin’s wounds, including those to his head,

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                     Page 8 of 17
                                  3:19-cr-30067-SEM-TSH # 172     Page 9 of 17




                    shoulders, torso, and knees.                These can be seen in

                    Government’s Exhibit 1 from the Daubert hearing.             These

                    photographs show some of the same injuries to the inmate’s

                    body as shown in the hospital photograph. The Government

                    has also indicated that it intends to introduce into evidence

                    the St. John’s Hospital records (see Government Group

                    Exhibit 7). These hospital records contain a record of the

                    wounds observed on the inmate.              See St. John’s Hospital

                    records at Bates numbered pages 2198, 2205- 2206, and

                    2212.

                         So, there is no need to show the jury a hospital

                    photograph of the anterior view of the inmate lying in a

                    hospital bed hooked up to all kinds of monitoring equipment

                    and tubing with a wound dressing, a trach collar and a

                    breathing or feeding tube apparatus. This photographic

                    evidence is unnecessarily duplicative and only seeks to inject

                    an emotional or inflammatory aspect to the evidence.

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                     Page 9 of 17
                                 3:19-cr-30067-SEM-TSH # 172    Page 10 of 17




                    "Litigants are not entitled to burden the court with an

                    unending stream of cumulative evidence." MCI Commc'ns

                    Corp. v. AT&T Co., 708 F.2d 1081, 1171 (7th Cir. 1983).

                         E.   Further, no hospital photograph is needed for the

                    jury to understand these injuries for, as demonstrated at the

                    Daubert hearing, the Government has and can obtain

                    medical graphics which can be used in connection with a

                    testifying physician to demonstrate the location of the

                    injuries. Moreover, a medical witness need only point to part

                    of their body to show the jury where the injury was located.

                         F.    For the same reasons stated above, even when Dr.

                    Collier gives his opinion that he agrees with Dr. Norfleet’s

                    autopsy insofar as the inmate’s condition identified in the

                    autopsy that agrees with the conditions he found when he

                    treated the inmate, no hospital photograph is needed to

                    assist the jury in understanding that testimony.

                         G.   Regarding Government’s witness Dr. Norfleet and

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                    Page 10 of 17
                                  3:19-cr-30067-SEM-TSH # 172    Page 11 of 17




                    his autopsy report, Dr. Norfleet saw the inmate post-mortem

                    and not in the hospital.     Using the same medical graphics

                    and having Dr. Norfleet point to parts of his body, Dr. Norfleet

                    can easily explain to a jury what he is referencing in his

                    autopsy report without the need to be aided by this hospital

                    photograph.

                         6.    The one thing that is obvious is that whatever

                    minimal relevance of the hospital photograph, its admission

                    into evidence will be so inflammatory as to create an unfair

                    prejudice in the minds of the jury and detract them from a

                    fair and unimpassioned consideration of the evidence.

                    Accordingly, the admission of this hospital photograph into

                    evidence should be barred by Federal Rule of Evidence

                    403(b).

                         7.   As stated by the Seventh Circuit, when considering

                    the admission of graphic photographs where neither a

                    victim's death nor the cause of death is at issue, "the only

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                     Page 11 of 17
                                  3:19-cr-30067-SEM-TSH # 172    Page 12 of 17




                    conceivable reason for placing them in evidence [i]s to inflame

                    the jury. [emphasis supplied]" Gomez v. Ahitow, 29 F.3d

                    1128, 1139-40 (7th Cir. 1994) quoting Ferrier v. Duckworth,

                    902 F.2d 545, 548-49 (7th Cir. 1990). In Duckworth, the

                    Seventh Circuit explained that while the admission of

                    gruesome photographs of a victim was harmless for habeas

                    purposes, the trial court's admission of such photographs

                    was both erroneous and inexcusable due to the fact the

                    victim's death was not at issue. See Duckworth, 902 F.2d at

                    549. A single glance at the hospital photograph evidences

                    that it is inflammatory and unduly prejudicial nature

                    substantially outweighing any probative value that this

                    photograph might have in this case.

                         8.    The Government’s contention is that this hospital

                    photograph is probative if it confirms the prosecution’s

                    theory about the manner in which a crime was committed

                    should be rejected. First, this contention should be rejected,

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                     Page 12 of 17
                                      3:19-cr-30067-SEM-TSH # 172    Page 13 of 17




                    for as outlined above, the unduly prejudicial value of that

                    evidence substantially outweighs its probative value and the

                    Government has significant other evidence and means of

                    presenting it to confirm the Government’s theory about the

                    manner in which the alleged crime was committed. As noted

                    above, the photograph only depicts injuries, not who caused

                    them, where they were caused, or how they were caused.

                            Second, it would be error to admit this highly prejudicial

                        form of evidence when, as discussed above, much less

                        prejudicial but equally probative alternatives are available to

                        the Government to make its point. See e.g. Old Chief v.

                        United States, 519 U.S. 172, 191-92 (1997) cited with

                        approval in United States v. Gaytan, 649 F.3d 573, 580-81

                        (7th Cir. 2011). Accord, United States v. Tomkins, No. 07 CR

                        227, 2012 U.S. Dist. LEXIS 54771, at *23 (N.D. Ill. Apr. 19,

                        2012)(noting that cumulative evidence can be unduly

                        prejudicial, citing to Old Chief)

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                         Page 13 of 17
                                     3:19-cr-30067-SEM-TSH # 172    Page 14 of 17




                            Third, this is not a case where, given no real alternatives

                        available to the Government, there is a need to have this

                        hospital photograph to assist the jury in understanding the

                        manner of death, such as torture, or that the wounds were

                        inflicted by a certain size or type of weapon, or that the

                        victim was bound in some fashion, or that the victim’s body

                        showed evidence of sexual or other abuse, or to establish for

                        the Government some higher level of depravity in the

                        manner in which the crime occurred, or corroborate the

                        Government’s theory about a crime scene.

                            9.    While the hospital photograph the Government

                    wants to introduce may be the type or kind that occur in

                    cases where there is an injured victim, it does not take away

                    from the fact that by every metric, it is gruesome,

                    inflammatory,      and     emotion       evoking.         To    allow   the

                    Government to use this type of photograph when other

                    testimonial and demonstrative exhibits are available to the

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                        Page 14 of 17
                                  3:19-cr-30067-SEM-TSH # 172    Page 15 of 17




                    Government, would serve no purpose but to allow the

                    Government to wrongfully interject emotion, anger, and

                    sympathy into this case.

                         10. The Comments to Rule 403 state that "unfair

                    prejudice means an undue tendency to suggest decision on

                    an improper basis, commonly, though not necessarily, an

                    emotional one." Thus, courts apply Rule 403 in a manner

                    that favors the admission of relevant evidence, and only

                    exclude evidence when unfair prejudice threatens to

                    overwhelm its probative value. The greater the probative

                    value of the evidence, the more willing the court will be to

                    tolerate some risk of prejudice. United States v. Torres, 977

                    F.2d 321, 328 (7th Cir. 1992).         But, in the case at bar, the

                    probative value of the hospital photograph – as well as the

                    autopsy photographs – is not that great and the photographs

                    are duplicative of other evidence, thus, adding to their undue

                    prejudice. The improper basis the hospital, and the autopsy

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                     Page 15 of 17
                                  3:19-cr-30067-SEM-TSH # 172    Page 16 of 17




                    photographs, suggest is that emotion and sympathy should

                    guide if not control the jury’s decision, jury instructions to

                    the contrary notwithstanding.          No jury could ignore these

                    photographs, even if there were instructions that sought to

                    temper their effect.

                          Wherefore, Defendant ALEX BANTA prays                  that   this

                    Court enter an order barring the use and admission into

                    evidence of the hospital photograph recently disclosed by the

                    Government, and requiring the Government to bring to the

                    attention of its witnesses the Court’s order or orders.

                                             ALEX BANTA, Defendant,

                                             By:_/s/Stanley N. Wasser
                                             Stanley N. Wasser, #2947307
                                             One of His Attorneys
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FeldmanWasser
1307 S. Seventh St.
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217/544-3403                                     Page 16 of 17
                                     3:19-cr-30067-SEM-TSH # 172    Page 17 of 17




                                       CERTIFICATE OF SERVICE

                             I hereby certify that on August 4, 2021, I electronically
                        filed the foregoing with the Clerk of the Court using the
                        CM/ECF system which will send notification of such filing
                        to the following:

                                 Timothy A Bass       tim.bass@usdoj.gov

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                        and I hereby certify that I have mailed by United States
                        Postal Service the document to the following non-CM/ECF
                        participants:

                                 Not Applicable



                                                 By:_/s/Stanley N. Wasser
                                                     Stanley N. Wasser, #2947307
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217/544-3403                                        Page 17 of 17
